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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA               )
                                       )          CRIMINAL ACTION NO.
        v.                             )            2:11cr191-MHT
                                       )                 (WO)
JEFFERY NOLAN BENNETT                  )


                            OPINION AND ORDER

       This case is before the court on defendant Jeffery

Nolan        Bennett’s      motion     for        release     or     sentence

reduction due to the coronavirus pandemic.                           For the

reasons explained below, the motion will be denied.

       Bennett      was    convicted       in   2012   of    one    count   of

conspiracy       to   possess    with       the   intent     to    distribute

cocaine base and cocaine hydrochloride, pursuant to a

guilty plea.          The court sentenced him to 188 months of

imprisonment, and he has served almost 106 months of

that    sentence.          He   is   housed       at   a    medium-security

prison.

       Although he does not cite a particular statute, the

court assumes that Bennett seeks a sentence reduction

pursuant       to     18    U.S.C.     § 3582(c)(1)(A).              Section
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3582(c)(1)(A) authorizes a court to modify a term of

imprisonment in only certain limited circumstances.                     As

relevant here, it states:

    “[T]he court, upon motion of the Director of the
    Bureau of Prisons, or upon motion of the defendant
    after the defendant has fully exhausted all
    administrative rights to appeal a failure of the
    Bureau of Prisons to bring a motion on the
    defendant's behalf or the lapse of 30 days from the
    receipt of such a request by the warden of the
    defendant's facility, whichever is earlier, may
    reduce the term of imprisonment (and may impose a
    term of probation or supervised release with or
    without conditions that does not exceed the
    unserved   portion   of   the   original  term   of
    imprisonment), after considering the factors set
    forth in section 3553(a) to the extent that they
    are applicable, if it finds that—

          (i)   extraordinary   and  compelling                 reasons
          warrant such a reduction; ...

    and that such a reduction is consistent                         with
    applicable   policy   statements issued by                       the
    Sentencing Commission.”

18 U.S.C. § 3582(c)(1)(A).*




    * Motions filed under this provision are commonly
referred to as motions for compassionate release.
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    The “applicable policy statement” with which relief

under § 3582(c)(1)(A) must be consistent is found in

section    1B1.13        of    the       United     States     Sentencing

Guidelines.     Section 1B1.13 mirrors § 3582(c)(1)(A) in

that it provides that a court may reduce a term of

imprisonment        if        the        court      determines         that

“extraordinary      and       compelling         reasons     warrant    the

reduction” and that the reduction is consistent with

the policy statement, but it also requires that “the

defendant is not a danger to the safety of any other

person or to the community, as provided in 18 U.S.C.

§ 3142(g).”          U.S.       Sentencing          Commission,        2018

Guidelines    Manual      (hereafter       “U.S.S.G.”),       §1B1.13(2).

In an application note to the policy statement, the

Sentencing Commission provides the following categories

of “extraordinary and compelling circumstances”: (A) a

medical condition of the defendant, (B) the advanced

age of the defendant, and (C) the defendant’s family

circumstances.           U.S.S.G.    § 1B1.13        cmt.     n.1.      The

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Commission also included a ‘catchall’ provision where

the Director of the BOP finds “other reasons” exist

that       are    “extraordinary      and       compelling.”             U.S.S.G.

§ 1B1.13         cmt.   n.1(D).       The       medical      conditions      that

qualify include a terminal illness, U.S.S.G. § 1B1.13,

comment n.1(A)(i); and a serious physical or medical

condition, serious functional or cognitive impairment,

or     aging-related          deteriorating         physical        or     mental

health “that substantially diminishes the ability of

the        defendant     to     provide          self-care      within       the

environment of a correctional facility and from which

he    or    she    is   not    expected        to   recover.”        § 1B1.13,

comment n.1(A)(ii).

       Having considered the 18 U.S.C. § 3553(a) factors,

the court finds that Bennett has failed to show the

existence of an extraordinary and compelling reason to

reduce his sentence.                Bennett argues that the court

should reduce his sentence due to the pandemic, his

mental      condition,        and   the       failure   of    his   lawyer     to

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inform him accurately of the sentence he could receive

at the time of his guilty plea.                        The existence of the

pandemic alone is not an extraordinary and compelling

reason    for    release       because         every    non-immune        federal

prisoner is subject to the risk of infection with the

2019     coronavirus.               Nor       does    the    court    find       it

extraordinary and compelling in combination with the

other factors Bennett raises.

       Bennett       claims    that       he   has    paranoid      personality

disorder.       Assuming that he currently suffers from this

condition, it is not a terminal illness, and he has not

shown that it “substantially diminishes [his] ability

... to provide self-care within the environment of a

correctional facility and from which he or she is not

expected        to     recover.”               U.S.S.G.      § 1B1.13        cmt.

n.1(A)(ii).           Nor     has    Bennett         shown   that    he    has    a

medical condition that is recognized as putting him at

an elevated risk of serious complications or death from

COVID-19, such as Type II diabetes or COPD.                          Therefore,

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the court finds his medical condition insufficiently

serious to warrant release under § 3582(c)(1)(A).

       In his motion, defendant Bennett also contends that

he should be released now because his former lawyer

misrepresented        the    sentence     he   would    receive     if    he

pleaded guilty, and that, had he received the sentence

he had been promised, he would have been out of prison

by   now   or    at   a    halfway    house.     However,     the   court

already      rejected        essentially       the     same    claim      of

ineffective      assistance      of    counsel    in   the    context     of

Bennett’s motion to vacate the judgment pursuant to 28

U.S.C. § 2255, which the court denied.                  See Bennett v.

United States, No. 2:14cv720-MHT, 2016 WL 7173882 (M.D.

Ala.     Sept.     14,      2016),    report     and     recommendation

adopted, No. 2:14cv720-MHT, 2016 WL 7175607 (M.D. Ala.

Dec. 8, 2016).            Therefore, the court will not consider

claims about his former lawyer’s representation here.

       Bennett also points out that he has completed over

50 % of his sentence; is not violent or a gang member;

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has not had a writeup for misconduct in over six years

and has had only one disciplinary during his entire

incarceration;         has    obtained       his    general      equivalency

diploma and completed many programs; and has stopped

using drugs and plans to remain drug-free for the rest

of his life.          Had Bennett shown an extraordinary and

compelling reason for release, these factors would be

relevant considerations under 18 U.S.C. § 3553(a), the

court       does     not     consider        them    extraordinary          and

compelling reasons for release on their own, as they

are not uncommon.            See also U.S.S.G. § 1B1.13 cmt. n.3

(The     “rehabilitation          of   the     defendant      is    not,     by

itself, an extraordinary and compelling reason” under

the       Commission’s        policy         statement      on      sentence

reductions).

       Finally, to the extent Bennett asks the court to

order     the      Bureau    of   Prisons     to    place     him   on     home

confinement, the court lacks authority to do so.                            The

BOP has the sole authority to place a prisoner in its

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home-confinement program.              See de Jesus v. Woods, No.

2:19cv121-WHA, 2019 WL 3326199, at *4 (M.D. Ala. June

21,     2019),     report     and    recommendation       adopted,         No.

2:19cv121-WHA,         2019   WL     3323736   (M.D.     Ala.   July       24,

2019).

                                     ***

       Accordingly, it is ORDERED that defendant Jeffery

Nolan       Bennett’s       motion     for     release     or    sentence

reduction (doc. no. 642) is denied.

       DONE, this the 14th day of September, 2020.

                                        /s/ Myron H. Thompson
                                     UNITED STATES DISTRICT JUDGE




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